         Case 1:19-cv-03786-WHP Document 41 Filed 10/20/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                  :
 CLARENCE BOWEN ALLEN, et al.,                    :
                                                  :
                        Plaintiffs                :
                                                  :         19cv3786
                -against-                         :
                                                  :         ORDER
 THE CITY OF NEW YORK, et al.,                    :
                                                  :
                        Defendants.               :

WILLIAM H. PAULEY III, Senior United States District Judge:

               On October 7, 2020, Plaintiffs and Defendants jointly submitted a letter detailing

three discovery disputes. (ECF No. 40.) This Court addresses each in turn.

               First, the parties spar over Plaintiffs’ notice to depose Defendants’ 30(b)(6)

witnesses. Defendants’ aver that Plaintiffs’ notice topics are “vague, ambiguous, over broad

with respect to time and scope, seek testimony of contentions that lack any foundation, and [are]

unduly burdensome as it seeks testimony that can be obtained from other more convenient

sources.” (ECF No. 40, at 3.) In effect, Defendants utilize every objection at their disposal.

Having reviewed Plaintiffs’ Notice of Deposition, (ECF No. 40-1), this Court concludes that

Plaintiffs’ notice is appropriate and well targeted. Accordingly, Defendants’ are directed to

produce 30(b)(6) witnesses in accord with Plaintiffs’ Notice of Deposition.

               Second, Plaintiffs seek information regarding the “race, date of birth, corporate

title, and department for all Group 12 employees” to use as a comparator against their putative

class of Group 11 employees. (ECF No. 40, at 4.) Defendants argue that this information is

irrelevant because Group 11 employees are non-union employees who hold managerial positions

while Group 12 employees are union, front-line workers. While—based on Defendants’
         Case 1:19-cv-03786-WHP Document 41 Filed 10/20/20 Page 2 of 2




averments—the two groups of employees may have key differences, the information may be

relevant to Plaintiffs’ case. Accordingly, Defendants are directed to produce anonymized race,

date of birth, corporate title, and department information for all Group 12 employees.

               Finally, Plaintiff Clarence Bowen-Allen, a class representative, has failed to

appear for a deposition. Plaintiffs’ counsel aver that they will make efforts to arrange for a

deposition on October 27, 2020. This Court directs Bowen-Allen to appear for that deposition.

If Bowen-Allen fails to appear, the parties should advise this Court by joint letter by November

4, 2020 and state how they wish to proceed.



Dated: October 20, 2020
       New York, New York




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